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                     IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF MICHIGAN

                              SOUTHERN DIVISION


                                          :
IN RE: AUTOMOTIVE PARTS                   :   Master File No. 12-md-02311
ANTITRUST LITIGATION                      :
                                          :   Case No. 12-cv-00102
                                          :   Case No. 12-cv-00202
                                          :   Case No. 12-cv-00302
PRODUCT(S):                               :   Case No. 12-cv-00602
                                          :   Case No. 13-cv-00702
AUTOMOTIVE WIRE HARNESSES;                :   Case No. 13-cv-01002
INSTRUMENT PANEL CLUSTERS;                :   Case No. 13-cv-01102
FUEL SENDERS; OCCUPANT SAFETY             :   Case No. 13-cv-01302
RESTRAINT SYSTEMS; SWITCHES;              :   Case No. 13-cv-01402
STEERING ANGLE SENSORS; HID               :   Case No. 13-cv-01502
BALLASTS, ALTERNATORS,                    :   Case No. 13-cv-01602
STARTERS, IGNITION COILS, MOTOR           :   Case No. 13-cv-01702
GENERATORS, INVERTERS, AIR                :   Case No. 13-cv-01802
FLOW METERS, FUEL INJECTION               :   Case No. 13-cv-02002
SYSTEMS, VALVE TIMING CONTROL             :   Case No. 13-cv-02202
DEVICES, ELECTRONIC THROTTLE              :   Case No. 13-cv-02402
BODIES, RADIATORS, and ATF                :   Case No. 13-cv-02502
WARMERS                                   :   Case No. 13-cv-02602
                                          :
                                          :
                                          :
This Document Relates to:                 :   Hon. Marianne O. Battani
                                          :
ALL DEALERSHIP ACTIONS                    :
                                          :


Auto Dealers’ Motion for Final Approval of Settlements with Certain Defendants and for
                          Certification of Settlement Classes
  2:12-cv-00102-MOB-MKM              Doc # 394      Filed 11/16/15       Pg 2 of 39       Pg ID 13358



           Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Auto Dealers hereby move the

Court for final approval of the settlements between the Auto Dealers and certain Defendants, which

the Court previously conditionally approved in the above matters, and for certification, pursuant to

Fed. R. Civ. P. 23(b)(2) and 23(b)(3), of the certification, for settlement purposes only, of settlement

classes.

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                     IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF MICHIGAN

                                SOUTHERN DIVISION


                                           :
IN RE: AUTOMOTIVE PARTS                    :   Master File No. 12-md-02311
ANTITRUST LITIGATION                       :
                                           :   Case No. 12-cv-00102
                                           :   Case No. 12-cv-00202
                                           :   Case No. 12-cv-00302
PRODUCT(S):                                :   Case No. 12-cv-00602
                                           :   Case No. 13-cv-00702
AUTOMOTIVE WIRE HARNESSES;                 :   Case No. 13-cv-01002
INSTRUMENT PANEL CLUSTERS;                 :   Case No. 13-cv-01102
FUEL SENDERS; OCCUPANT SAFETY              :   Case No. 13-cv-01302
RESTRAINT SYSTEMS; SWITCHES;               :   Case No. 13-cv-01402
STEERING ANGLE SENSORS; HID                :   Case No. 13-cv-01502
BALLASTS, ALTERNATORS,                     :   Case No. 13-cv-01602
STARTERS, IGNITION COILS, MOTOR            :   Case No. 13-cv-01702
GENERATORS, INVERTERS, AIR                 :   Case No. 13-cv-01802
FLOW METERS, FUEL INJECTION                :   Case No. 13-cv-02002
SYSTEMS, VALVE TIMING CONTROL              :   Case No. 13-cv-02202
DEVICES, ELECTRONIC THROTTLE               :   Case No. 13-cv-02402
BODIES, RADIATORS, and ATF                 :   Case No. 13-cv-02502
WARMERS                                    :   Case No. 13-cv-02602
                                           :
                                           :
                                           :
This Document Relates to:                  :   Hon. Marianne O. Battani
                                           :
ALL DEALERSHIP ACTIONS                     :
                                           :


                         Auto Dealers’ Memorandum in Support
                       of Motion for Final Approval of Settlements
                            With Certain Defendants and for
                           Certification of Settlement Classes
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                           Statement of the Issues Presented

1. Whether the settlements between the Auto Dealer Plaintiffs and certain Defendants are fair,
   reasonable, and adequate and should be granted final approval under Fed. R. Civ. P. 23?

   Answer: Yes

2. Whether the Court should grant final certification to the Auto Dealer settlement classes it
   previously conditionally certified?

   Answer: Yes




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                                      Controlling or Most Appropriate Authorities


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                                             Introduction

        The Automobile Dealer Plaintiffs respectfully seek final approval of ten provisionally

approved settlements with certain of the Defendants in this multi-district litigation.             These

settlements provide nearly $59 million in cash benefits. They also provide meaningful cooperation

that has already given the Auto Dealers detailed information about the anti-competitive conduct of

the Defendants who continue to litigate these cases. Each of the proposed settlements is fair,

reasonable, and adequate and should be granted final approval.

        The settlements provide excellent benefits in light of the conduct, damage, litigation risks,

and substantial cooperation provided by each of the settling Defendants. The cash components of

the settlements reflect compromises that take into account the liability claims and the volume of

commerce believed to be affected by the particular settling Defendant’s conduct. The settlements

also reflect the value provided by a Defendant’s decision to settle relatively early in the litigation and

provide cooperation that benefits the Auto Dealers’ claims against the non-settling Defendants.

        Notice of these settlements, as required by Rule 23, was provided through the notice plan

previously approved by the Court. The response from the members of the settlement classes was

overwhelmingly positive. There were no objections to the settlements, attorneys’ fees, litigation

expenses, or class representative service awards. There were no opt outs. The favorable reception

of these settlements provides good evidence that the settlements should be granted final approval.

        The Court should also certify, for settlement purposes, the settlement classes that it

previously conditionally certified in its preliminary approval orders. The settlements meet the Rule

23 requirements for settlement classes and should be granted certification. In doing so, the Court

should confirm the appointment of settlement counsel and the class representatives for the Auto

Dealers.   Finally, the Auto Dealers respectfully request that the Court approve the plans of




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allocations currently available for the Wire Harness Systems, Occupant Safety Systems, Inverters,

and Starters settlements.

                                            Background

I.       The Settlements Provide Substantial Benefits to Auto Dealers.

         A.     Cash Benefits.

         In a prior series of orders, the Court preliminarily approved settlements (the “Settlements”)

between the Auto Dealers and a number of the Defendants and their affiliates (the “settling

Defendants”).    Those Settlements are now before the Court for final approval.          The settling

Defendants are: Nippon Seiki Company Ltd., N.S. International, Ltd., and New Sabina Industries,

Inc. (collectively, “Nippon Seiki”); Lear Corporation (“Lear”); Kyungshin-Lear Sales and Engineering,

LLC (“KL Sales”); Autoliv, Inc., Autoliv ASP, Inc., Autoliv B.V. & Co. KG, Autoliv Safety

Technology, Inc., and Autoliv Japan Ltd (collectively, “Autoliv”); TRW Deutschland Holding

GmbH and ZF TRW Automotive Holdings Corp. (f/k/a TRW Automotive Holdings Corp.)

(collectively, “TRW”); Yazaki Corporation and Yazaki North America, Inc. (collectively, “Yazaki”);

Panasonic Corporation and Panasonic Corporation of North America (collectively, “Panasonic”);

Hitachi Automotive Systems, Ltd. (“HIAMS”); T. RAD Co., Ltd. and T.RAD North America, Inc.

(collectively, “T.RAD”); and Fujikura Ltd. and Fujikura Automotive America LLC (collectively,

“Fujikura”).

         The Settlements involve 18 of the component parts that the Auto Dealers contend were the

subject of coordination, bid-rigging, and price-fixing. For the Settlements currently before the

Court, the settling Defendants, and settlement amounts are:




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                                                               Settlement
         Automotive Parts Case       Settling Defendant         Amount
        Air Flow Meters              HIAMS                         $1,282,662

        Alternators                  HIAMS                         $1,992,078

        ATF Warmers                  T.RAD                          $234,000

        Wire Harness Systems         Lear                           $960,000

                                     KL Sales                        $72,000

                                     Fujikura                      $2,256,000

                                     Yazaki                       $23,136,990

        Electronic Throttle Bodies   HIAMS                         $2,197,750

        Fuel Injection Systems       HIAMS                         $2,774,359

        Fuel Senders                 Yazaki                          $18,510

        HID Ballasts                 Panasonic                  $1,740,188.21

        Ignition Coils               HIAMS                         $2,375,839

        Instrument Panel Clusters    Nippon Seiki                  $1,440,000

                                     Yazaki                         $844,500

        Inverters                    HIAMS                          $738,000

        Motor Generators             HIAMS                          $738,000

        Occupant Safety Systems      TRW                           $1,719,900

                                     Autoliv                       $6,000,000

        Radiators                    T.RAD                         $2,106,000

        Starters                     HIAMS                         $1,239,319

        Steering Angle Sensors       Panasonic                  $1,987,335.47

        Switches                     Panasonic                  $1,672,476.32
        Valve Timing Control
        Devices                      HIAMS                         $1,421,993




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(See Orders approving settlements between Auto Dealers and Nippon Seiki [Case No. 12-cv-00202,

ECF No. 79] (Feb. 18, 2014); Lear [Case No. 12-cv-00102, ECF No. 178] (July 8, 2014); KL Sales

[Case No. Case No. 12-cv-00102, ECF No. 178] (July 8, 2014); Autoliv [Case No. 12-cv-00602, ECF

No. 73]; Yazaki [Case No. 12-cv-00102, ECF No. 212; Case No. 12-cv-00202, ECF No. 112; and

Case No. 12-cv-00302, ECF No. 127] (Oct. 10, 2014); TRW [Case No. 12-cv-00602, ECF No. 80]

(Oct. 10, 2014); Panasonic [Case No. 13-cv-01302, Case No. 13-cv-01602, Case No. 13-cv-01702;

ECF No. 116] (April 10, 2015); HIAMS [Case No. 13-cv-002002, Case No. 13-cv-00702, Case No.

13-cv-01102, Case No. 13-cv-01402, Case No. 13-cv-01502, Case No. 13-cv-01802, Case No. 13-cv-

02002, Case No. 13-cv-02202, Case No. 13-cv-02502, Case No. 13-cv-02602; ECF No. 21] (April

19, 2015); T.RAD [Case No. 13-cv-01002, Case No. 13-cv-02402; ECF No. 83] (August 27, 2015);

and Fujikura [Case No. 12-cv-00102; ECF No. 369] (September 23, 2015)).

        Because of the different parts involved, there are 23 different settlement classes in the

Settlements (the “Settlement Classes). (Id.) The Auto Dealers negotiated the Settlements in tandem

with the End Payors to allow the settling Defendants to resolve the indirect purchaser claims in the

litigation. (See Declaration of Shawn M. Raiter). As part of these negotiations, the Auto Dealers

considered the particular Defendants’ conduct, the estimated amount of commerce affected by that

conduct, and the value of the other settlement terms like cooperation being offered by the settling

Defendant. (Id.) The Settlements provide approximately $59 million in gross settlement funds for

the Auto Dealers. In the opinion of counsel for the Auto Dealers, the Settlements provide an

excellent result for the Settlement Classes and are fair, reasonable, and adequate. (Raiter Decl.)

        B.      Cooperation and Other Terms.

        In addition to the cash payments, the settling Defendants are required to provide the Auto

Dealers with various forms of cooperation that include: (1) the production of certain documents and

data relevant to the ongoing claims against the non-settling Defendants; (2) interviews with



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representatives of the settling Defendants; (3) the assistance in understanding certain data and other

information produced to Auto Dealers; and (4) facilitating the use of such data and information at

trial. Those terms were set out in detail in the preliminary approval motions and the agreements

between the parties (the “Settlement Agreements).

II.       The Notice Plan was Carried Out and Provided Adequate Notice of the Settlements.

          The Settlements provide cash benefits to automobile dealerships that purchased certain parts

and/or new vehicles containing those parts in jurisdictions that the Auto Dealers contend allow

antitrust indirect purchasers to seek money damages: Arizona, Arkansas, California, District of

Columbia, Florida, Hawaii, Illinois, Iowa, Kansas, Maine, Massachusetts, Michigan, Minnesota,

Mississippi, Missouri, Montana, Nebraska, Nevada, New Hampshire, New Mexico, New York,

North Carolina, North Dakota, Oregon, South Carolina, South Dakota, Tennessee, Utah, Vermont,

West Virginia, and Wisconsin (the “Included States”).

          Through a class action notice consultant, approximately 16,000 potential automobile dealer

class members in the Included States were identified and sent notice through the mail.            (See

Declaration of Kenneth Jue.) The notice consultant also sent approximately 124,000 emails to

addresses associated with automobile dealerships that purchased new vehicles and parts in the

Included States.     (Id.)   A multi-faceted notice program intended to provide the best notice

practicable under the circumstances was therefore carried out and included:

      •    Direct mail notice to approximately 16,000 postal addresses of automobile
           dealerships potentially eligible for money benefits under the Settlements;

      •    Email notice to approximately 124,000 email addresses associated with automobile
           dealerships potentially eligible for money benefits under the Settlements;

      •    Published notice in magazines like Ward’s AutoWorld, Automotive News, and Auto
           Dealer Monthly and digital media designed to target new car automobile dealerships
           nationwide;

      •    Online media efforts through outlets like Facebook and Twitter; and


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       •    Earned media efforts through a national press release and the settlement web site,
            www.AutoDealerSettlement.com

(See Jue Decl.)      The notice plan “reached” more than 95 per cent of the potentially eligible

automobile dealers in the Included States. (Id.)

III.       The Reaction of Settlement Class Members was Positive.

           The reaction of automobile dealers to these Settlements was positive. There were no

objections to any of the 23 different Settlement Classes. (See Jue Decl.) No class member objected

to the terms of the settlements, the notice plan, the requested attorneys’ fees, cost reimbursement, or

service awards. (Id.) No class member requested an opportunity to be heard at the final fairness

hearing. (Id.) Of the approximately 16,000 recipients of the direct mail notice, only one dealership

group initially elected to opt out but later withdrew that request and elected to participate in the

Settlements. (Id.; Raiter Decl., Ex. E).

IV.        The Plans of Allocation of the Settlement Proceeds.

           The special allocation consultant approved by the Court, Stuart Rosenthal, has developed

plans for distributing the net settlement proceeds to members of the Settlement Classes who submit

claim forms for new vehicles and affected component parts purchased in the Included States (“Plans

of Allocation”). Using information available about the parts and brands and models targeted by

anti-competitive conduct, Rosenthal devised a point-based system that provides greater weight to

the purchase of models and brands for which there is evidence that efforts were made to coordinate

bids for component parts used in those vehicles. (See Raiter Decl. Ex. A, B, C, and D.)

           As an example, the Plan of Allocation for the Wire Harness settlements will allocate the net

proceeds of each of the Wire Harness Settlements to:

           (1) Dealers who purchased vehicle models that were subject to alleged coordinated
           activity on bids for component parts;




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        (2) Dealers who purchased subsequent vehicle models that were subject to alleged
        coordinated activity on bids for component parts;

        (3) Dealers who purchased vehicles whose manufacturers experienced multiple
        instances of alleged coordinated activity on bids for component parts;
        (4) Dealers who purchased other vehicles;

        (5) Dealers who purchased component parts subject to allegedly coordinated activity;
        and

        (6) A reserve fund for future allocation and distribution to eligible Settlement Class
        members.

(Ex. A.) Similar Plans of Allocation have been developed for the Auto Dealer settlements in

Occupant Safety Systems, Inverters, and Starters. (See Ex. B, C, and D.)

        The Plans of Allocation also provide an assignment of value to the purchase of the affected

parts for use as replacement parts. (Ex. A, B, C, and D.) Reserve funds for future allocation and

distribution were implemented to address the possibility that information not currently available

about affected parts, models, and brands would become available in the future. (Id.) If that does

not occur, the reserve funds will be distributed on a pro rata basis to the members of the Settlement

Classes in their respective cases. (Id.) As the Auto Dealers previously advised the Court, eligible

dealerships that submit a claim form will receive a minimum payment of $350 under the Plans of

Allocation. (Id.)

                                            Legal Standard

        The Sixth Circuit and courts in the Eastern District of Michigan “have recognized that the

law favors the settlement of class action lawsuits.” Griffin v. Flagstar Bancorp, Inc., No. 2:10-cv-10610,

2013 WL 6511860, at *2 (E.D. Mich. Dec. 12, 2013); see also In re Packaged Ice Antitrust Litig., No. 08-

MD-01952, 2011 WL 717519, at *7 (E.D. Mich. Feb. 22, 2011); UAW v. General Motors Corp., 497

F.3d 615, 632 (6th Cir. 2007) (federal policy favors settlement of class actions).




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        To be given final approval, a class action settlement must be “fair, reasonable, and

adequate.” Sheick v. Auto. Component Carrier LLC, No. 2:09-cv-14429, 2010 WL 4136958, at *14

(E.D. Mich. Oct. 18, 2010); see also Packaged Ice, 2011 WL 717519, at *8. “There are three steps

which must be taken by the court in order to approve a settlement: (1) the court must preliminarily

approve the proposed settlement, (2) members of the class must be given notice of the proposed

settlement, and (3) after holding a hearing, the court must give its final approval of the settlement.”

In Re Telectronics Pacing Sys. Inc., 137 F. Supp. 2d 985, 1026 (S.D. Ohio 2001) (citing Williams v.

Vukovich, 720 F.2d 909, 921 (6th Cir. 1983)); In re Packaged Ice Antitrust Litig., No. 08-MD-01952,

2010 WL 3070161, at *4 (E.D. Mich. Aug. 2, 2010).

        The court considers whether the proposed settlement is “fair, adequate, and reasonable to

those it affects and whether it is in the public interest.” Lessard v. City of Allen Park, 372 F. Supp. 2d

1007, 1009 (E.D. Mich. 2005) (citing Vukovich, 720 F.2d at 921-23). This determination requires

consideration of “whether the interests of the class as a whole are better served if the litigation is

resolved by the settlement rather than pursued.” In re Cardizem CD Antitrust Litig., 218 F.R.D. 508,

522 (E.D. Mich. 2003) (citation omitted); Sheick, 2010 WL 4136958, at *14-15.

        The court has broad discretion when approving a class action settlement. UAW, 497 F.3d at

636; Girsh v. Jepson, 521 F.2d 153, 156 (3d Cir. 1975). In exercising this discretion, courts give

considerable weight and deference to the view of experienced counsel as to the merits of an arm’s-

length settlement. Dick v. Spring Commc’ns, 297 F.R.D. 283, 297 (W.D. Ky. 2014) (“The Court defers

to the judgment of the experienced counsel associated with the case, who have assessed the relative

risks and benefits of litigation”). Indeed, a “presumption of fairness, adequacy, and reasonableness

may attach to a class settlement reached in arm’s length negotiations between experienced, capable

counsel after meaningful discovery.” New England Health Care Employees Pension Fund v. Fruit of the




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Loom, Inc., 234 F.R.D. 627, 632 (W.D. Ky. 2006) (citations omitted); see also In re Automotive

Refinishing Paint Antitrust Litig., MDL No. 1426, 2003 WL 23316645, at *6 (E.D. Pa. Sept. 5, 2003).

         Because a settlement represents an exercise of judgment by the negotiating parties, a judge

reviewing a settlement will not “substitute his or her judgment for that of the litigants and their

counsel,” IUE-CWA v. General Motors Corp., 238 F.R.D. 583, 593 (E.D. Mich. 2006), or “decide the

merits of the case or resolve unsettled legal questions.” Carson v. Am. Brands, Inc., 450 U.S. 79, 88 n.

14 (1981). Because of the uncertainties and risks inherent in any litigation, courts take a common

sense approach and approve class action settlements if they fall within a “range of reasonableness.”

Sheick, 2010 WL 4136958, at *15 (citation omitted). The court should guard against demanding too

large a settlement, because a settlement “represents a compromise in which the highest hopes for

recovery are yielded in exchange for certainty and resolution.” Int’l Union, United Auto., Aerospace &

Agric. Implement Workers of Am. v. Ford Motor Co., No. 05-74730, 2006 WL 1984363, at *23 (E.D.

Mich. July 13, 2006) (citation omitted); accord Sullivan v. DB Investments, Inc., 667 F.3d 273, 324 (3d Cir.

2011).

                                                Argument

I.       The Settlements are Fair, Reasonable, and Adequate and Should be Given Final
         Approval.

         The Auto Dealer settlements before the Court meet the criteria required for final approval

under Rule 23 of the Federal Rules of Civil Procedure. They provide meaningful benefits and were

reached after negotiations between experienced counsel who were armed with sufficient background

about the merits and defenses to the claims asserted.             The settlements reflect a reasonable

compromise in light of the liability, damages, and procedural uncertainties facing both the Auto

Dealers and the settling Defendants.

         Courts in the Sixth Circuit consider a number of factors when determining whether a

settlement should be granted final approval: (1) the likelihood of success on the merits weighed

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against the amount and form of the relief offered in the settlement; (2) the complexity, expense, and

likely duration of further litigation; (3) the opinions of class counsel and class representatives; (4) the

amount of discovery engaged in by the parties; (5) the reaction of absent class members; (6) the risk

of fraud or collusion; and (7) the public interest. Packaged Ice, 2011 WL 717519, at *8; see also UAW,

497 F.3d at 631; Griffin, 2013 WL 6511860, at *3; Cardizem, 218 F.R.D. 508 at 522. No single factor

is determinative and the court may weigh each factor based on the circumstances of the case. Int’l

Union, 2006 WL 1984363, at *21. The court may “choose to consider only those factors that are

relevant to the settlement at hand.” Id. at *22; see also Grenada Invs., Inc. v. DWG Corp., 962 F.2d 1203,

1205-06 (6th Cir. 1992) (holding that a district court enjoys wide discretion in assessing the weight

and applicability of factors).

        A.        The Likelihood of the Auto Dealers’ Success on the Merits Weighed Against
                  the Relief Offered in the Settlements Supports Approval.

        The court assesses class action settlements “with regard to a ‘range of reasonableness,’ which

‘recognizes the uncertainties of law and fact in any particular case and the concomitant risks and

costs inherent in taking any litigation to completion.’” Sheick, 2010 WL 4136958, at *15 (quoting

IUE-CWA, 238 F.R.D. at 594); Int’l Union, 2006 WL 1984363, at *21. The fairness of such a

settlement “turns in large part on the bona fides of the parties’ legal dispute.” UAW, 497 F.3d at

631. When considering the likelihood of plaintiffs’ success on the merits of the litigation, the

ultimate question is whether the interests of the class as a whole are better served if the litigation is

resolved by settlement rather than pursued. Sheick, 2010 WL 4136958, at *16 (citing IUE-CWA, 238

F.R.D. at 595).

        The Auto Dealers believe they will prevail in these cases. But they also recognize that success

is not guaranteed in any complex litigation. Although there were illegal conspiracies to coordinate

bidding and other activities on component parts, the settling and non-settling Defendants have

vigorously defended these cases. Some Defendants have claimed that the Auto Dealers cannot

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prove that the bid rigging caused them an antitrust injury. Other Defendants have previewed

arguments about class certification, which they contend should not be granted in the Auto Dealer

cases. The Settlements reflect both the strengths of the Auto Dealers claims and the risk that the

settling Defendants may prevail on some of their arguments.

        The settling Defendants are represented by experienced and competent counsel and were

prepared to defend these cases through trial. While there is risk in any litigation, class actions are

inherently high-stakes and high-risk. Auto Dealers remain optimistic about the outcome of these

cases, but must acknowledge that the settling Defendants could prevail on certain legal or factual

arguments and by doing so, could reduce or eliminate potential recoveries for the Auto Dealers.

The certainty and substantial benefits provided by the Settlements support a finding that they were

reasonable and adequate.

        These are also the first settlements negotiated by the Auto Dealers.                 This gives the

Settlements some “ice-breaker” value. Packaged Ice, 2011 WL 717519, at *10; In re Linerboard Antitrust

Litig., 292 F. Supp. 2d 631, 643 (E.D. Pa. 2003). The cooperation that the settling Defendants have

agreed to provide is a “substantial benefit” to the class and “strongly militates toward approval” of

the settlements. Linerboard, 292 F. Supp.2d at 643. This cooperation will enhance and strengthen

the Auto Dealers’ prosecution of claims against the Defendants who continue to litigate these cases.

Linerboard, 292 F. Supp. 2d at 643; Packaged Ice, 2011 WL 717519, at *10 (noting that cooperation by

the settlement defendant “has already been beneficial to the Plaintiffs in their continued prosecution

of their claims against the non-settling Defendants.”); In re Pressure Sensitivie Labelstock Antitrust Litig.,

584 F. Supp. 2d 697, 702 (M.D. Pa. 2008) (“the benefit of obtaining the cooperation of the Settling

Defendants tend to offset the fact that they would be able to withstand a larger judgment.”).

        Interim Co-Lead Class Counsel for the Auto Dealers believe that the Settlements represent

an excellent recovery for Auto Dealers. Weighing the benefits of the Settlements against the risks of



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continued litigation tilts the scale heavily toward final approval. See Griffin, 2013 WL 6511860, at *4;

Packaged Ice, 2011 WL 717519, at *9.

        B.      The Complexity, Expense, and Likely Duration of Continued Litigation Favor
                Final Approval.

        “Settlement should represent ‘a compromise which has been reached after the risks, expense

and delay of further litigation have been assessed.’” Cardizem, 218 F.R.D. at 523 (quoting Vukovich,

720 F.2d at 922). “[T]he prospect of a trial necessarily involves the risk that Plaintiffs would obtain

little or no recovery.” Id. at 523. This is particularly true for class actions, which are “inherently

complex.” Telectronics, 137 F. Supp. at 1013 (settlement avoid the costs, delays, and multitude of

other problems associated with class actions, which are “inherently complex.”); Cardizem, 218 F.R.D.

at 533 (“Moreover, the complexity of this case cannot be overstated. Antitrust class actions are

inherently complex . . . .”).

        The Auto Dealers continue to litigate with the Defendants who have not yet settled making

it impossible for Auto Dealers to spell out with specificity their analysis of the risks of litigating

versus settling. The Court, however, has had substantial opportunity to consider the claims and

defenses in this litigation and knows that complex antitrust litigation of this scope has many inherent

risks that settlements extinguish. The fact that the Auto Dealers achieved substantial recoveries,

which eliminate risk while ensuring substantial payments, supports final approval of the Settlements.

        C.      The Judgment of Experienced Counsel Who Have Evaluated the Strength of
                the Claims, Defenses, and Risks Supports Approval.

        The Settlements were reached by experienced counsel after arm’s-length negotiations and are

therefore provided deference.        Dick, 297 F.R.D. at 296 (“Giving substantial weight to the

recommendations of experienced attorneys, who have engaged in arms-length settlement

negotiations, is appropriate . . . .”) (quoting In re Countrywide Fin. Corp. Customer Data Sec. Breach Litig.,




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No. 3:08-MD01998, 2010 WL 3341200, at *4 (W.D. Ky. Aug. 23, 2010)); see also In re Auto. Refinishing

Paint Antitrust Litig., 617 F. Supp. 2d. 336, 341 (E.D. Pa. 2007).

        In deciding whether a proposed settlement warrants approval, “[t]he Court should also

consider the judgment of counsel and the presence of good faith bargaining between the contending

parties.” In re Delphi Corp. Sec., Deriv. & “ERISA” Litig., 248 F.R.D. 483, 498 (E.D. Mich. 2008).

Counsel’s judgment “that settlement is in the best interest of the class ‘is entitled to significant

weight, and supports the fairness of the class settlement.’” Packaged Ice, 2011 WL 717519, at *11

(quoting Sheick, 2010 WL 4136958, at *18). “In the absence of evidence of collusion (there is none

here) this Court ‘should defer to the judgment of experienced counsel who has competently

evaluated the strength of his proofs.’” Date v. Sony Electronics, Inc., No. 07-15474, 2013 WL 3945981,

at *9 (E.D. Mich. Jul. 31, 2013) (quoting Vukovich, 720 F.2d at 922-23).

        Interim Co-Lead Counsel for the Auto Dealers are experienced in handling class action

antitrust and other complex litigation. They have represented the interests of Auto Dealers from the

inception of this litigation and negotiated the Settlements at arm’s length with well-respected and

experienced counsel for the settling Defendants.          Interim Co-Lead Counsel believe that the

Settlements each provide an excellent result in light of the circumstances of each settling

Defendant’s conduct and potential liability. (Raiter Decl.)

        Discovery in the cases involved in the Settlements varied, but in each case counsel for the

Auto Dealers was armed with important information about the conspiracies through review of

documents produced to the Department of Justice, proffers of information by cooperating

Defendants, and/or discovery from this litigation. The amount of discovery completed is a factor to

be considered in the settlement approval process, but there is no baseline required to satisfy this

factor. Packaged Ice, 2010 WL 3070161, at *5-6. The “question is whether the parties had adequate




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information about their claims.” Griffin, 2013 WL 6511860, at *4 (quoting In re Global Crossing Sec. &

ERISA Litig., 225 F.R.D. 436, 458 (S.D.N.Y. 2004)).

        The discovery and available information allowed Interim Co-Lead Counsel for the Auto

Dealers to evaluate the strengths and weaknesses of the claims and defenses and to evaluate the

benefits of the Settlements.     Interim Co-Lead Counsel for the Auto Dealers believe that the

Settlements are fair, reasonable, and in the best interests of Auto Dealers who purchased new

automobiles containing the parts at issue in the Settlements. (Raiter Decl.) The opinion of counsel

supports final approval of the Settlements.

        D.       Class Member Reaction.

        There were no objections to any of the settlements. This is remarkable because there are

often at least a few objections to class settlements. “A certain number of opt-outs and objections

are to be expected in a class action. If only a small number are received, that fact can be viewed as

indicative of the adequacy of the settlement.” Cardizem, 218 F.R.D. at 527. This reaction from the

members of the settlement classes strongly supports the adequacy of the settlements. Stoetzner v.

U.S. Steel Corp., 897 F.2d 115, 118-19 (3d Cir. 1990) (holding that objections by about 10% of class

“strongly favors settlement”); see also TBK Partners, Ltd. v. Western Union Corp., 675 F.2d 456, 458, 462

(2d Cir. 1982) (approving settlement despite objections of large number of class); Taifa v. Bayh, 846

F. Supp. 723, 728 (N.D. Ind. 1994) (approving class settlement despite objections from more than

10% of class).

        Notice of these settlements was sent by direct mail to nearly 16,000 addresses and 124,000

email addresses connected to new car dealerships in the Included States. (Jue Decl.) Initially, a

single dealership group elected to opt out of the Settlements. (Id.) However, upon a careful analysis

of the Settlements, that dealership group withdrew its request and instead elected to participate in




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the Settlements. (Id.; Ex. E) The lack of a single opt-out speaks loudly about the adequacy of the

Settlements.

           E.     The Public Interest Supports Granting Final Approval to the Settlements.

           “[T]here is a strong public interest in encouraging settlement of complex litigation and class

action suits because they are ‘notoriously difficult and unpredictable’ and settlement conserves

judicial resources.” Cardizem, 218 F.R.D. at 530 (quoting Granada, 962 F.2d at 1205); see also Griffin,

2013 WL 6511860, at *5; Packaged Ice, 2011 WL 717519, at *12. In light of the conduct at issue and

guilty pleas related to the claims here, there is no countervailing public interest that provides a

reason to disapprove the Settlements. Griffin, 2013 WL 6511860, at *5. This factor also supports

final approval.

           F.     The Settlements are not the Product of Collusion.

           There is a presumption that settlement negotiations were conducted in good faith and that

the resulting agreement was reached without collusion unless there is contrary evidence. Griffin,

2013 WL 6511860, at *3; Packaged Ice, 2011 WL 717519, at *12; Int’l Union,, 2006 WL 1984363, at

*26; Sheick, 2010 WL 4136958, at *19-20. The Settlements here were reached after adversarial

litigation and often contentious discovery. The negotiations leading to the Settlements were entirely

arms’ length and often took many months of settlement proposal exchanges. The Settlements were

negotiated in good faith with counsel on each side zealously representing the interests of their

clients.

II.        Notice of the Settlements was Proper Under Rule 23 and Met Due Process
           Requirements.

           Fed. R. Civ. P. 23(e)(1) provides that “[t]he court must direct notice in a reasonable manner

to all class members who would be bound by the [proposed settlement].” For Rule 23(b)(3) actions,

“the court must direct to class members the best notice that is practicable under the circumstances,




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including individual notice to all members who can be identified through reasonable effort.” Fed. R.

Civ. P. 23(c)(2)(B).

        The purpose of notice in a class action is to “afford members of the class due-process

which, in the context of the Rule 23(b)(3) class action, guarantees them the opportunity to be

excluded from the class action and not be bound by any subsequent judgment.” Peters v. Nat’l R.R.

Passenger Corp., 966 F.2d 1483, 1486 (D.C. Cir. 1992) (citing Eisen v. Carlisle & Jacquelin, 417 U.S. 156,

173-74 (1974)). Due process requires that absent class members be provided the best notice

practicable, reasonably calculated to apprise them of the pendency of the action, and affording them

the opportunity to opt out or object. Phillips Petroleum Co. v. Shutts, 472 U.S. 797, 812 (1985); see also

UAW, 497 F.3d at 629 (quoting Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950)).

        The “best notice practicable” does not mean actual notice, nor does it require individual

mailed notice where there are no readily available records of class members’ individual addresses or

where it is otherwise impracticable. Fidel v. Farley, 534 F.3d 508, 514 (6th Cir. 2008); In re Domestic

Air Transp. Antitrust Litig., 141 F.R.D. 534, 548-53 (N.D. Ga. 1992); MANUAL             FOR   COMPLEX

LITIGATION (Fourth) § 21.311, at 288 (2004) (“MANUAL”). The mechanics of the notice process

“are left to the discretion of the court subject only to the broad ‘reasonableness’ standard imposed

by due-process.” Grunin v. Int’l House of Pancakes, 513 F.2d 114, 121 (8th Cir. 1975). Each class

member need not receive actual notice for the due-process standard to be met, “so long as class

counsel acted reasonably in selecting means likely to inform persons affected.” In re Prudential Sec.

Inc. Ltd. P'ships Litig., 164 F.R.D. 362, 368 (S.D.N.Y. 1996).

        Where names and addresses of known or potential class members are reasonably available,

direct-mail notice should be provided. See, e.g., Eisen, 417 U.S. at 175-76; MANUAL, § 21.311, at 292.

If the names and addresses of class members cannot be determined by reasonable efforts, notice by




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publication is sufficient to satisfy the requirements of the due-process clause and Rule 23. Mullane,

339 U.S. at 317-18; Carlough v. Amchem Prods., 158 F.R.D. 314, 325 (E.D. Pa. 1993).

        No member of the Settlement Class objected to or criticized the notice program. (Jue Decl.)

The program was primarily a direct mail program that targeted class members and was

supplemented by published notice in industry-specific publications. The notice program easily

satisfied the requirements of Rule 23 and due process. Packaged Ice, 2011 WL 717519, at *5; Sheick,

2010 WL 4136958 at *15.

III.    Certification of Settlement Classes is Appropriate.

        In its preliminary approval orders, the Court found that Rule 23’s requirements were met

and provisionally certified, for purposes of settlement only, Settlement Classes relating to the parties

and parts covered by the Settlements. It is well-established that a class may be certified for purposes

of settlement. See, e.g., Amchem Prods., Inc. v. Windsor, 521 U.S. 591 (1997); Int’l Union,, 2006 WL

1984363, at *3, *18; Cardizem, 218 F.R.D. at 516-19; Thacker v. Chesapeake Appalachia, LLC, 259

F.R.D. 262, 266-70 (E.D. Ky. 2009). The Settlements meet the requirements of Rule 23(a) as well as

the requirements of Rule 23(b)(2) and 23(b)(3) for settlement purposes.

        A.      The Auto Dealer Settlement Classes Satisfy Rule 23(a).

        Certification of a class requires meeting the requirements of Fed.R.Civ.P. 23(a) and one

subsection of Rule 23(b). In re Whirlpool Corp. Front-Loading Washer Prods. Liab. Litig., 722 F.3d 838,

850-51 (6th Cir. 2013); Griffin, 2013 WL 6511860, at *5; Int’l Union, 2006 WL 1984363, at *19 (citing

Sprague v. General Motors Corp., 133 F.3d 388, 397 (6th Cir. 1998)). Certification is appropriate under

Rule 23(a) if: (1) the class is so numerous that joinder of all members is impracticable; (2) there are

questions of law and fact common to the class; (3) the claims or defenses of the representative

parties are typical of the claims or defenses of the class; and (4) the representative parties will fairly




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and adequately protect the interest of the class. Griffin, 2013 WL 6511860, at *5; Date, 2013 WL

3945981, at *3.

                  1.    The Settlement Classes are Numerous.

        Class certification under Rule 23(a)(1) is appropriate where a class contains so many

members that joinder of all would be “impracticable.” Fed. R. Civ. P. 23(a)(1). There is no strict

numerical test to satisfy the numerosity requirement, and the most important factor is whether

joinder of all the parties would be impracticable.         Whirlpool, 722 F.3d at 852 (noting that

“substantial” number of class members satisfies numerosity). Numerosity is determined by the

number and geographic location of class members. Marsden v. Select Medical Corp., 246 F.R.D. 480,

484 (E.D. Pa. 2007).

        The notice for these Settlements was mailed to approximately 16,000 automobile dealership

entities, geographically dispersed throughout the United States. Joinder of all Settlement Class

members would be impracticable, satisfying Rule 23(a)(1).

                  2.    Common Questions of Law and Fact Exist.

        Fed. R. Civ. P. 23(a)(2) requires that a proposed class action involve “questions of law or fact

common to the class.” “We start from the premise that there need be only one common question

to certify a class,” Whirlpool, 722 F.3d at 853, and “the resolution of [that common issue] will

advance the litigation.” Sprague, 133 F.3d at 397. Accord Exclusively Cats Veterinary Hosp. v. Anesthetic

Vaporizer Servs., Inc., 2010 WL 5439737, at *3 (E.D. Mich. Dec. 27, 2010) (“[T]here need be only a

single issue common to all members of the class”) (citing In re Am. Med. Sys., Inc., 75 F.3d 1069, 1080

(6th Cir. 1996)).

        “[A]llegations concerning the existence, scope and efficacy of an alleged conspiracy present

questions adequately common to class members to satisfy the commonality requirement.” In re Flat

Glass Antitrust Litig., 191 F.R.D. 472, 478 (W.D. Pa. 1999) (citing 4 NEWBERG ON CLASS ACTIONS §



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18.05-15 (3d ed. 1992)). Whether the settling Defendants entered into illegal agreements to rig bids

and artificially fix prices of automobile component parts presents questions common to all members

of the Settlement Classes. Packaged Ice, 2011 WL 717519, at *6 (holding that the commonality was

satisfied by questions concerning “whether Defendants conspired to allocate territories and

customers and whether their unlawful conduct caused Packaged Ice prices to be higher than they

would have been absent such illegal behavior and whether the conduct caused injury to the Class

Members”). “Indeed, consideration of the conspiracy issue would, of necessity focus on defendants’

conduct, not the individual conduct of the putative class members.” Flat Glass, 191 F.R.D. at 484.

           Because there are common legal and factual questions related to potential liability, the

commonality requirement of Rule 23(a)(2) is met for the Settlement Classes.

                   3.      Auto Dealer Plaintiffs’ Claims are Typical of Those of the Settlement
                           Class.

           Rule 23(a)(3) requires that “the claims or defenses of the representative parties are typical of

the claims or defenses of the class.” Fed. R. Civ. P. 23(a)(3). “If there is a strong similarity of legal

theories, the requirement [of typicality] is met, even if there are factual distinctions among named

and absent class members.” Griffin, 2013 WL 6511860, at *6 (quoting Int’l Union,, 2006 WL 1984363,

at * 19); Date, 2013 WL 3945981, at *3. “Typicality is met if the class members’ claims are ‘fairly

encompassed by the named plaintiffs’ claims.’” Whirlpool, 722 F.3d at 852 (quoting Sprague, 133 F.3d

at 399).

           The claims of the named plaintiff Auto Dealers arise from the same course of conduct as the

claims of the members of the Settlement Classes. Rule 23(a)(3)’s typicality requirement is satisfied

for the Settlement Classes.

                   4.      Auto Dealer Class Representatives and Their Counsel Have Fairly and
                           Adequately Represented the Interests of the Class Members.

           Rule 23(a)(4) requires that the class representative fairly and adequately protect the interests



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of the class. “There are two criteria for determining adequacy of representation: (1) the proposed

class representative must have common interests with the other class members; and (2) it must

appear that the class representative will vigorously prosecute the interests of the class through

qualified counsel.” Sheick, 2010 WL 3070130, at *3 (quoting Senter v. Gen. Motors Corp., 532 F.2d 511,

524-25 (6th Cir. 1976)). These requirements are met here.

        The interests of the Auto Dealer representatives are the same as those of other Settlement

Class members. These Plaintiffs are indirect purchasers of the parts and new vehicles at issue in this

litigation and they, like the other Settlement Class members, claim that they were injured as a result

of the alleged conspiracies and seek to prove that the settling Defendants violated antitrust and

consumer laws. The named Auto Dealer Plaintiffs have the same interests as those of the members

of the Settlement Classes. The Auto Dealer Plaintiffs have retained qualified and experienced

counsel to pursue these cases. Counsel for the Auto Dealers have vigorously pursued this litigation

and will continue to represent the interests of Auto Dealers. Adequate representation under Rule

23(a)(4) is therefore satisfied.

        B.       Automobile Dealer Plaintiffs’ Claims Satisfy the Prerequisites of Rule 23(b)(3)
                 for Settlement Purposes.

        In addition to satisfying Rule 23(a), plaintiffs must show that the class falls under at least one

of the three subsections of Rule 23(b). The Settlement Classes qualify under Rule 23(b)(3), which

authorizes class certification if “questions of law or fact common to the members of the class

predominate over any questions affecting only individual members, and . . . a class action is superior

to other available methods for the fair and efficient adjudication of the controversy.” In re Scrap

Metal Antitrust Litig., 527 F.3d 517, 535 (6th Cir. 2008); Hoving v. Lawyers Title Ins. Co., 256 F.R.D.

555, 566 (E.D. Mich. 2009).




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                1.      Common Legal and Factual Questions Predominate.

        The Rule 23(b)(3) requirement that common issues predominate insures that a proposed

class is “sufficiently cohesive to warrant certification.” Amchem, 521 U.S. at 623. The predominance

requirement is met where “the issues in the class action that are subject to generalized proof, and

thus applicable to the class as a whole, . . . predominate over those issues that are subject only to

individualized proof.” Beanie v. CenturyTel, Inc., 511 F.3d 554, 564 (6th Cir. 2007) (citation omitted).

        Horizontal price-fixing cases are particularly well-suited for class certification because proof

of the conspiracy presents a common, predominating question. Scrap Metal, 527 F.3d at 535; Packaged

Ice, 2011 WL 717519, at *6; In re Southeastern Milk Antitrust Litig., 2010 WL 3521747, at *5, 9-11 (ED.

Tenn. Sept. 7, 2010). Affirming class certification in Scrap Metal, the Sixth Circuit observed that the

“district court found that the ‘allegations of price-fixing and market allocation . . . will not vary

among class members’ . . . Accordingly, the court found that the ‘fact of damages’ was a question

common to the class even if the amount of damages sustained by each individual class member

varied.” 527 F.3d at 535 (emphasis in original).

        Here, the same set of core operative facts and theory of liability apply in each of the

Settlements. Whether the settling Defendants entered into illegal agreements presents questions

common to all Settlement Class. See, e.g., Packaged Ice, 2011 WL 717519, at *6. If Automobile Dealer

Plaintiffs and the other Settlement Class members brought individual actions, they would each be

required to prove the same claims in order to establish liability. For settlement purposes, common

issues predominate.

                2.      Class Action Settlements Are Superior to Other Methods of
                        Adjudication.

        Rule 23(b)(3) lists factors to be considered in determining the superiority of proceeding as a

class action compared to individual methods of adjudication: (1) the interests of the members of the

class in individually controlling the prosecution of separate actions; (2) the extent and nature of

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other pending litigation about the controversy by members of the class; (3) the desirability of

concentrating the litigation in a particular forum; and (4) the difficulties likely to be encountered in

management of the class action. Fed. R. Civ. P. 23(b)(3).

        The Auto Parts litigation has been centralized in this Court and no member of a Settlement

Class requested exclusion from the Settlements.             Thus, consideration of factors (1) - (3)

demonstrates the superiority of these Settlement Classes. The fourth Rule 23(b)(3) factor is not

relevant in a settlement-only class because the potential difficulties in managing a trial of the case is

extinguished by the settlement. Cardizem, 218 F.R.D. at 517.

        In addition, “[g]iven the complexities of antitrust litigation, it is not obvious that all members

of the class could economically bring suits on their own.” In re Cardizem CD Antitrust Litig, 200

F.R.D. 297, 325 (E.D. Mich. 2007) (quoting Paper Systems Inc. v. Mitsubishi Corp., 193 F.R.D. 601, 605

(ED. Wisc. 2000)). Certifying the Settlement Classes will conserve judicial and private resources and

will provide a single outcome that is binding on all Settlement Class members. Cardizem, 200 F.R.D.

at 351. The alternatives to these Settlements are class action are a multiplicity of separate lawsuits or

no recourse for or no recourse for many class members for whom the cost of pursuing individual

litigation would be prohibitive. See In re Flonase Antitrust Litig., 284 F.R.D. 207, 234 (E.D. Pa. 2012);

In re NASDAQ Market-Makers Antitrust Litig., 169 F.R.D. 493, 527 (S.D.N.Y 1996). The certification

of Settlement Classes is superior to the alternatives in this litigation.

IV.     The Court Should Approve the Plans of Allocation and Appoint Settlement Class
        Counsel and Auto Dealer Class Representatives.

        At preliminary approval, the Court provisionally appointed Interim Co-Lead Counsel for the

Auto Dealers as class settlement counsel and appointed the named Auto Dealer representatives in

those cases as the representatives of the provisionally certified class settlements. As part of the final

approval process, the Court should appoint Cuneo Gilbert & LaDuca, LLP, Barrett Law Group,

P.A., and Larson  King, LLP as Settlement Class Counsel. These firms have represented the Auto

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Dealers throughout the litigation and satisfy the requirements of Rule 23(g). The Court should also

appoint the Automobile Dealer Plaintiffs named in the operative complaints in the Settlements as

class representatives of their respective Settlement Classes.

        The Auto Dealers also request that the Court approve the Plans of Allocation devised by the

Auto Dealers’ special allocation consultant. The Plans of Allocation distribute the net settlement

proceeds to members of the Settlement Classes who submit claim forms for new vehicles and

affected component parts purchased in the Included States. They use information available about

the parts and brands and models targeted by anti-competitive conduct and apply a point-based

system that provides greater weight to the purchase of models and brands for which there is

evidence that efforts were made to coordinate bids for component parts used in those vehicles. (See

Raiter Decl. Ex. A, B, C, and D).

        Plans of Allocation have been completed for the Auto Dealer settlements involving Wire

Harness Systems, Occupant Safety Systems, Inverters, and Starters. (See Ex. B, C, and D). The

Plans of Allocation also provide an allocation to the purchase of the affected parts for use as

replacement parts.     (Ex. A-D).     Reserve funds for future allocation and distribution were

implemented to address the possibility that information not currently available about affected parts,

models, and brands would become available in the future. (Id.) If that does not occur, the reserve

funds will be distributed on a pro rata basis to the members of the Settlement Classes in their

respective cases. (Id.) Eligible dealerships that submit a claim form will receive a minimum payment

of $350 under the Plans of Allocation. (Id.)

        The Plans of Allocation provide a fair and reasonable method for distributing the settlement

funds, provide eligible members of the Settlement Classes with information about how the

calculations will be made, and should be approved by the Court. Cardizem, 218 F.R.D. at 531.

“‘Approval of a plan of allocation of a settlement fund in a class action is governed by the same



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standards of review applicable to approval of the settlement as a whole; the distribution plan must

be fair, reasonable and adequate.’“ In re Packaged Ice Antitrust Litig., No. 08-MD-01952, 2011 WL

6209188, at *15-16 (E.D. Mich. Dec. 13, 2011) (quoting Meijer, Inc. v. 3M, Civ. No. 04-5871, 2006

WL 2382718, at*17 (E.D. Pa. 2006)); In re Ikon Office Solutions Sec. Litig., 194 F.R.D. 166, 184(E.D. Pa.

2000)). “‘Courts generally consider plans of allocation that reimburse class members based on the

type and extent of their injuries to be reasonable.’“ Id. (quoting In re Aetna, Inc., No. Civ. A. MDL

1219, 2001 WL 20928, at *12 (E.D. Pa. Jan.4, 2001)); Cardizem, 218 F.R.D. at 531 (approving a plan

as fair and reasonable that adopted a pro rata method for calculating each class member's share of the

settlement fund).

        The approach used by the Plans of Allocation provides reimbursement to the eligible

members of the Settlement Classes based on the relative extent of injury the Auto Dealers believe

they sustained. The Plans assign weighted point scores based on the volume of purchases of

affected vehicles and parts. Vehicles and parts for which there is evidence of coordinated bid and

pricing activity receive more weight. This approach provides a fair and reasonable method for

allocating more money to those automobile dealers who sold more of the affected parts and

vehicles. The Plans and claim process are also designed to minimize the burden on dealers in

making a claim.

        The Court should approve the Plans of Allocation for the Auto Dealer settlements involving

Wire Harness Systems, Occupant Safety Systems, Inverters, and Starters. As future Plans are

completed, the Auto Dealers will provide them to the Court for consideration and approval.




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                                            Conclusion

       For the foregoing reasons, Automobile Dealer Plaintiffs respectfully request that the Court

grant final approval of the Settlements and certify the Settlement Classes for purposes of settlement.

       Dated: November 16, 2015


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                             CERTIFICATE OF SERVICE

        I, Gerard V. Mantese, hereby certify that I caused a true and correct copy of AUTO
DEALERS’ MOTION AND MEMORANDUM IN SUPPORT OF MOTION FOR
FINAL APPROVAL OF SETTLEMENTS WITH CERTAIN DEFENDANTS AND
FOR CERTIFICATION OF SETTLEMENT CLASSES to be served via e-mail upon all
registered counsel of record via the Court’s CM/ECF system on November 16, 2015.



                                         /s/Gerard V. Mantese
                                         Gerard V. Mantese




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